Case 1:16-ap-01091-MB      Doc 63 Filed 02/16/17 Entered 02/16/17 09:05:28                Desc
                            Main Document    Page 1 of 2

  1   ALANA B. ANAYA, SBN 195758
      JONATHAN MALEK SBN 235125
  2   ANAYA LAW GROUP
      2629 Townsgate Road, Suite 140
  3   Westlake Village, CA 91361                                FILED & ENTERED
      Tel: (805) 230-9222
  4   Fax: (805) 230-9221
      Email: alana@anayalawgroup.com                                  FEB 16 2017
  5
      Attorneys for Plaintiff,                                   CLERK U.S. BANKRUPTCY COURT
  6   VAZGEN KHACHATRYAN                                         Central District of California
                                                                 BY Ogier      DEPUTY CLERK

  7
                           UNITED STATES BANKRUPTCY COURT
  8

  9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

 10   In re:                                    )   Bankruptcy No. 1:15-bk-11139-MB
                                                )
 11   SHAHEN MARTIROSIAN                        )   Adversary No. 16-AP-01091
                                                )
 12                                             )   ORDER: TO CONTINUE FOR
                                                )   EXTENDED
 13                                             )   [1] EXTENDING THE TEMPORARY
                                                )
                                                )   RESTRAINING ORDER;
 14                                                 [2] CONTINUING THE HEARING ON
                                                )
 15                                             )   THE ORDER TO SHOW CAUSE RE
                                                )   ISSUANCE OF PRELIMINARY
 16                                             )   INJUNCTION AND
                                                )   [3] CONTINUING STATUS
 17                                             )   CONFERENCE
                                                )
 18                                             )
      _____________________________________ )
 19                                             )
      VAZGEN KHACHATRYAN                        )   HEARING DATE: February 13, 2017
 20                                             )   TIME: 1:30 PM
                 Plaintiff,                     )
                                                )   COURTROOM: 303
 21
      vs.                                       )
 22                                             )
      SHAHEN MARTIROSIAN; CPI REAL)                 CONTINUED DATE: February 16, 2017
 23   ESTATE GROUP, INC., doing business as)        TIME: 5:00 PM
      REALTY       EXECUTIVES       PREMIERE)       COURTROOM: 303
 24   ESCROW          DIVISION;      VIRGINIA)
      MARTIROSIAN;                     ANAHIT)
 25   HARUTYUNYAN; 4705 EXCELENTE)
      INC.,    a California corporation; CITY)
 26   NATIONAL FINANCE, a business entity)
      form unknown and DOES 1 to 100 inclusive, )
 27          Defendants                         )

 28


                                                                                                  1
               ORDER CONTINUING HEARING AND EXTENDED TEMPORARY RESTRAINING ORDER
Case 1:16-ap-01091-MB         Doc 63 Filed 02/16/17 Entered 02/16/17 09:05:28              Desc
                               Main Document    Page 2 of 2

  1
      The hearing on Plaintiff’s motion for a preliminary injunction set for February 13, 2017, at
  2
      1:30 pm in Courtroom 303 came on for hearing. Appearances were taken by the court and the
  3
      court orders as follows:
  4
          1. The status conference and the hearing on the motion for a preliminary injuction set for
  5
             February 13, 2017, at 1:30 pm in Courtroom 303, are continued to February 16, 2017,
  6
             at 5:00 pm in Courtroom 303. The hearing is a telephonic appearance only.
  7
          2. The Temporary restraining order issued on December 27, 2016, shall remain in effect
  8
             through and including February 16, 2017.
  9
          3. Other than as modified by this order, the temporary restraining order issued on
 10
             December 27, 2017, remains in full force and effect along with all additional orders
 11
             and requirements set forth therein.
 12
                                                   ###
 13

 14

 15

 16

 17

 18

 19

 20
 21

 22

 23

 24 Date: February 16, 2017

 25

 26
 27

 28


                                                                                                     2
              ORDER CONTINUING HEARING AND EXTENDED TEMPORARY RESTRAINING ORDER
